

People v Navarro (2019 NY Slip Op 06981)





People v Navarro


2019 NY Slip Op 06981


Decided on September 27, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 27, 2019

PRESENT: WHALEN, P.J., SMITH, LINDLEY, NEMOYER, AND TROUTMAN, JJ. (Filed Sept. 27, 2019.) 


MOTION NO. (1414/17) KA 14-01577.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vVANGIE M. NAVARRO, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








